✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications


                                       UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA
           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.
           LEONARD CRAIG LANDT JR                                              Case Number:           CR 14-119-2-CJW
   Revocation of Probation                                                    USM Number:            13815-029
   Revocation of Supervised Release                                           Zachary D. Crowdes
   Modification of Supervision Conditions                                     Defendant’s Attorney

   AMENDED REVOCATION JUDGMENT
          Date of Most Recent Judgment:



THE DEFENDANT:
 admitted guilt to violation(s)                                      As listed below                                  of the term of supervision.

 was found in violation of                                                                                                   after denial of guilt.

The defendant is adjudicated guilty of these violations:
Violation Number                    Nature of Violation                                                                Violation Ended
1                                   Failure to Report within 72 Hours                                                  ongoing
2                                   Failure to Report to RRC                                                           ongoing
3                                   Failure to Follow USPO Instructions                                                ongoing




The defendant is sentenced as provided in pages 2 through               3         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 The defendant was not found in violation of                                                             and is discharged as to such violation(s).
 The Court did not make a finding regarding violation(s)
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.


C.J. Williams
United States District Judge
Name and Title of Judge                                                     Signature of Judge

Janusary 11, 2021                                                           January 12, 2021
Date of Imposition of Judgment                                              Date



                   Case 1:14-cr-00119-CJW-MAR Document 181 Filed 01/12/21 Page 1 of 3
✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications
                                                                                                                 Judgment—Page   2   of   3
     DEFENDANT:                 LEONARD CRAIG LANDT JR
     CASE NUMBER:               CR 14-119-2-CJW

                                                                    PROBATION
            The defendant’s supervision is continued with the addition of special condition number(s):




                                                                IMPRISONMENT
            No imprisonment is ordered as part of this modification.

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
             term of: 13 months.




            The court makes the following recommendations to the Federal Bureau of Prisons:
             It is recommended that the defendant be designated to a Bureau of Prisons facility in close proximity to the defendant's
             family which is commensurate with the defendant's security and custody classification needs.




            The defendant is remanded to the custody of the United States Marshal.
            The defendant must surrender to the United States Marshal for this district:

                 at                                        a.m.          p.m.           on                                    .

                 as notified by the United States Marshal.

            The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
                 before 2 p.m. on                                                     .
                 as notified by the United States Marshal.
                 as notified by the United States Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                 to

at                                                      with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL

                                                                                  By
                                                                                                     DEPUTY UNITED STATES MARSHAL



                   Case 1:14-cr-00119-CJW-MAR Document 181 Filed 01/12/21 Page 2 of 3
✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

                                                                                   Judgment—Page   3   of   3
DEFENDANT:                 LEONARD CRAIG LANDT JR
CASE NUMBER:               CR 14-119-2-CJW

                                                      SUPERVISED RELEASE

    Upon release from imprisonment, No Term of Supervised Release is reimposed.




              Case 1:14-cr-00119-CJW-MAR Document 181 Filed 01/12/21 Page 3 of 3
